Case 3:21-mj-00285-HTC Document1 Filed 08/16/21 Page 1 of 10

COPY

_ 1s

Pega

AQ?) 442 (Rev. FEEL) Arrest Warrint

AL] IDV1SRlp_-—_—« UNITED STATES DISTRICT COURT

for the

  

penne ny
ms “TD
a Boe

District of Minnesota

United States of America

 

v. )
) Case No, CR 21-173(2) WMW/DTS
Gisela Castro Medina ) hy
) ro
«=
) a SO
} a BON
Defendeit ~~ a se G
No aR ms
- 7 OS
ARREST WARRANT m EES
| jaed law enforcement officer @ EG?
To: Any authorized law enforcement office =
>
co

YOU ARE COMMANDED to arrest and briny before a United States magisirate judge without unnecessary delay
{rane af persan to be arrested} — Gisela Cusivo Medina
who is accused of an offense or violation based on the following document filed with the court:

¥ Indictment Superseding Indictment Information Superseding Information Complaint

Probation Violation Petition Supervised Release Violation Pelion Violation Notice Order of the Court

Pretrial Release Violation Petition

This offense is briefly described as follows:
Count bE: Conspiracy To Commit Sex Tralficking of Minors rT P5910), 159 bb 2), 159), and 1594(c)

Counts 2-4: Sex Trafficking ofa Minor 18:1591(a)(1), E59 1(b)2), 1591 (e), 1594¢a), and 2
Count 10: Sex Trafficking - Obstruction 18:1591(d)} and 2

 

Date: 08/61/2021

   

“T Oy te
<M. Fogarty, Clerk of Court

City and state: Minneapolis, MN
Printed name and dite

 

Return

 

This warrant was received an (dite) and the person was arrested on ¢date)

Mofelivand sete; a es

 

dlrresting officer's signature

Printed name and tile

 

 

 

 
Case 3: 21- “My -00285- Hime Document 1 Filed 08/16/21 Page 2 of 1g

 

 

, _ “ho
CASE 0: 24 cr-00173+ WMW-DTS ‘SEALED* Doc. 1 Filed 08/11/21 Page Alot 9

2 alI73 waw/ DTS

UNITED STATES DISTRICT COURT
‘DISTRICT OF MINNESOTA .
Criminal No.

 

ee ete ea Lat
‘

UNITED STATES OF AMERICA, INDICTMENT

Plaintiff, 18 U.S.C. § 2
18 U.S.C. § 1591
v. 18 U.S.C, § 1594
21 U.S.C. § 853

1, ANTON JOSEPH LAZZARO, 28 U.S.C, § 2461

a/k/a Tony Lazzaro, .

a/k/a Tony, en

and ‘
2. GISELA CASTRO MEDINA,

a/k/a Gisela Medina, . i

Seed Slag

Defendants.

THE UNITED STATES GRAND JURY CHARGES THAT:

an cer mar
7 ripeness

COUNT 1
(Conspiracy To Commit Sex Trafficking of Minors) '

 

I. From in or about May 2020 through in or about December 2020, in the State .
and District of Minnesota, the defendants, |

ANTON J OSEPH LAZZARO,
a/k/a Tony Lazzaro,
a/k/a Tony, and
GISELA CASTRO MEDINA,
a/k/a Gisela Medina, . ro

pe mee

in and affecting interstate commerce, conspired with each other and others known and
unknown to the Grand Jury to knowingly recruit; entice, harbor, transport, provide,obtain,

maintain, patronize, and solicit minors, namely MINOR VICTIMS A; B, C, D, E, and F

“SCANNED —
Aus 11 2021.

U.S, DISTRICT COURT MPLS

   
     

  

 

 
Case 3:21-mj-00285-HTC Document1 Filed 08/16/21 Page 3 of 10°

 

 

CASE 0:21-cr-00173-WMW-DTS *SEALED* Doc.1 Filed 08/11/21 Page 2 of 9
United States v. Anton Joseph Lazzaro et al.
knowing and in reckless disregard of the fact and having had a reasonable opportunity to
observe that MINOR. VICTIMS A, B, C, D, E, and F had not attained the age of 18 years,
to engage in a commercial sex act, all in violation of Title 18, United States Code, Sections
1591(a)(4), 1591(b)(2), 1591(c), and 1594(c).

COUNT 2
(Sex Trafficking of a Minor)

2. From in or about May 2020 through in or about June 2020, in the State and
District of Minnesota, the defendants,
ANTON JOSEPH LAZZARO,
a/k/a Tony Lazzaro,
a/k/a Tony, and
GISELA CASTRO MEDINA,
a/k/a Gisela Medina,
aiding and abetting one another, in and affecting interstate commerce, knowingly recruited,
enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited
MINOR VICTIM A to engage in a commercial sex act and attempted to do so, knowing
and in reckless disregard of the fact and having had a reasonable opportunity to observe
that MINOR VICTIM A had not attained the age of 18 years, all in violation of Title 18,
United States Code, Sections 1591(a)(1), 1591(b)(2), 1591(c), 1594(a), and 2.

COUNT 3
(Sex Trafficking of a Minor)

3, From in or about June of 2020 through in or about July of 2020, in the State
and District of Minnesota, the defendants,
ANTON JOSEPH LAZZARO,

a/k/a Tony Lazzaro,
a/k/a Tony, and

-

et

eee mee oe

ane

we ee ei

es os

ee ee

she oe

 
 

Case 3:21-mj-00285-HTC Document1 Filed 08/16/21. Page 4 of 10
CASE 0:21-cr-00173-WMW-DTS *SEALED* Doc. 1 Filed 08/11/21 Page 3 of 9

United States v. Anton Joseph Lazzaro et al,

GISELA CASTRO MEDINA,
a/k/a Gisela Medina,

aiding and abetting one another, in and affecting interstate commerce, knowingly recruited,
enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited
MINOR VICTIM B to engage in a commercial sex act and attempted to do so, knowing
and in reckless disregard of the fact and having had a reasonable opportunity to observe
that MINOR VICTIM B had not attained the age of 18 years, all in violation of Title 18,
United States Code, Sections 1591(a)(1), 1591(b)(2), 1591(c), 1594(a), and 2.

COUNT 4
(Sex Trafficking of a Minor)

4, From in or about June of 2020 through in or about October of 2020) in the
State and District of Minnesota, the defendants,
ANTON JOSEPH LAZZARO,
a/k/a Tony Lazzaro,
a/k/a Tony, and
GISELA CASTRO MEDINA,
a/k/a Gisela Medina,
aiding and abetting one another, in and affecting interstate commerce, knowingly recruited,
enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited
MINOR VICTIM C to engage in commercial sex and attempted to do so, knowing and in
reckless disregard of the fact and having had a reasonable opportunity to observe that

MINOR VICTIM C had not attained the age of 18 years, all in violation of Title 18,United

States Code, Sections 1591(a)}{1), 1591(b)(2), 1591(c), 1594(a), and 2.

4
seek nt setae ee cee oe es ee
4
, ‘ . -

eh re ee a re cael emma oe

 
Case 3:21-mj-00285-HTC Documenti1 Filed 08/16/21 Page 5 of 10

 

 

4,

CASE 0:21-cr-00173-WMW-DTS *SEALED* Doc.1 Filed 08/11/21 Page 4 of 9

United States v. Anton Joseph Lazzaro ot al. :

COUNT 5
(Sex Trafficking of a Minor)

5. From in or about July of 2020 through in or about October of 2020, in the
State and District of Minnesota, the defendants,

ANTON JOSEPH LAZZARO,
-a/k/a Tony Lazzaro,
a/k/a Tony, and
GISELA’CASTRO MEDINA,
a/k/a Gisela Medina,

|
aiding and abetting one another, in and affecting interstate commerce, knowingly. recruited,
enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited
MINOR VICTIM D to engage in a commercial sex act and attempted to do so, knowing
and in reckless disregard of the fact and havirig had a reasonable opportunity to observe
that MINOR. VICTIM D had not attained the age of 18 years, all in violation of Title 18,

United States Code, Sections 1591(a)(1), 1591(b)(2), 1591(c), 1594(a), and 2.

COUNT 6
(Sex Trafficking of a Minor)

6. From in or about July of 2020 through in or about October of 2020, in the
State and District of Minnesota, the defendants,
ANTON JOSEPH LAZZARO, ,
a/k/a Tony Lazzaro,
a/k/a Tony, and
GISELA CASTRO MEDINA,
a/k/a Gisela Medina,
aiding and abetting one another, in and affecting interstate commerce, knowingly recruited,

enticed, harbored, transported, provided, obtained, maintained, patronized, and solicited

MINOR VICTIM E to engage in a commercial sex act and attempted to do so, knowing

+

4 + . o
Fe nt ee ee Dg ee eile dd ee Ba sass oa oe mee

St ee ener ee abet

ee me Eeyeicnpiy tt tain

eet tte

oe

~

it meter eg neeeraeetiat gla samilactethe pene minty ster alps Heiman tates
* © 7 re * "

we

Nr

 
Case 3: 21- -Mj- 100285- HTC Document 1 Filed 08/16/21 _Page 6 of 10

 

 

CASE 0:21-cr- -00173- WMW-DTS *SEALED* Doc. 1 Filed 08/11/21 Page 5 of 9
United States v. Anton J oseph Lazzaro et al.
and in reckless disregard of the fact and having had a reasonable opportunity to observe
that MINOR. VICTIM E had not attained the age of 18 years, all in violation of Title 18,
United States Code, Sections 1591(a)(1), 1591(b)(2), 1591 (ce), 1594(a) and 2.
_ COUNT 7
(Attempted Sex Trafficking of a Minor)
7. From in or about August of 2020 through in or about November of 2020, in
the State and District of Minnesota, the defendant,
ANTON JOSEPH LAZZARO,
a/k/a Tony Lazzaro,
a/k/a Tony,
in and affecting interstate commerce, knowingly attempted to recruit, entice, harbor,
transport, provide, obtain, maintain, patronize, and solicit MINOR VICTIM F to engage in
a commercial sex act and attempted to do so, knowing and in reckless disregard of the fact
and having had a reasonable opportunity to observe that MINOR VICTIM F had not
attained the age of 18 years, all in.violation of Title 18, United States Code, Sections

1591(a)(1), 1591(b)(2), 1591(c), and 1594(a).

/ COUNTS
(Sex Trafficking - Obstruction)

8. In or about July 2020, in the State and District of Minnesota, the
defendant,
ANTON JOSEPH. LAZZARO,

a/k/a Tony Lazzaro,
a/k/a Tony, |

—_— -,

of

. i
‘

ER He yn Sees

 

ameneemesintt ae on eager teeth Ge teen eaeermerirniem at Eee oe
r . “ a ooo

 

 
Case 3:21-mj-00285-HTC Document1 Filed 08/16/21 Page 7 of 10

 

 

—
CASE 0:21-cr-00173-WMW-DTS *SEALED* Doc, 1 Filed 08/11/21 Page 6 of 9

United States v. Anton Joseph Lazzaro et al.

knowingly and intentionally obstructed, and attempted to obstruct, and knowingly and
intentionally interfered with and prevented the enforcement of Title 18, United States
Code, Section 1591(a), all in violation of Title 18, United States Code, Sections 1591(d).

COUNT 9
(Sex Trafficking -. Obstruction)

9, In or about October of 2020, in the State and District of Minnesota, the
defendant,
ANTON JOSEPH LAZZARO,
a/k/a Tony Lazzaro,
a/k/a Tony,
knowingly and intentionally obstructed, and attempted to obstruct, and knowingly and
intentionally interfered with and prevented the enforcement of Title 18, United States
Code, Section 1591(a), all in violation of Title 18, United States Code, Section 1591(d).
COUNT 10
(Sex Trafficking — Obstruction)
10. In or about March of 2021, in the State and District of Minnesota, the
defendants,
ANTON JOSEPH LAZZARO,
a/k/a Tony Lazzaro,
a/k/a Tony, and
GISELA CASTRO MEDINA,
a/k/a Gisela Medina,

aiding and abetting one another, knowingly and intentionally obstructed, and attempted to

obstruct, and knowingly and intentionally interfered with and prevented the enforcement

ane nee mre een eared etal eee te ee alent eta ae Cet a bine

cee ee ig te viet ote

Cite ee ee

ed apres

 

oe

 
Case 3:21-mj-00285-HTC Document1 Filed 08/16/21 Page 8 of 10

 

 

CASE 0:21-cr-00173-WMW-DTS *SEALED* Doc. 1 Filed 08/11/21 Page 7 of 9
United States v. Anton Joseph Lazzaro et al,
of Title 18, United States Code, Section 1591(a), all in violation of Title 18, United States
Code, Sections 1591(d) and 2.
FORFEITURE ALLEGATIONS

11. Counts I through. 10 of this Indictment are fully set forth herein by reference,
for the purpose of alleging forfeitures pursuant to Title 18, United States Code, Section
1594,

As a result of the offenses charged in Counts 1 through 10, the defendants shall
forfeit the following property to the United States pursuant to Title 18, United States Code,
Section 1594;

(1) | Any property, real or pefsonal, involved in, used or intended to be used to
commit or to facilitate the commission of the offenses, and any property
traceable td such property; and

(2) Any property, real or personal, constituting or derived from, any proceeds
obtained, directly or indirectly,.as a result of the offenses, or any property
traceable to such property.

The property subject to forfeiture includes, but is not limited to:

(a) the real property located at 201 11th Street South, #1920, Minneapolis, MN
55402, with property ID number 27-029-24-14-05 89;

(b) , a 2010 Ferrari convertiblé, VIN ZFF65LIA9A0173846;

(c) $371,240.00 in U.S. Currency seized from 201 11th Street South, #1920,

Minneapolis, MN 55402 on December 15, 2020;

i.
fa ay Cee piven

ih

a
eg, arcane i em ee me Pe ht al mh tenet pgpniernuetat in ae ii wt as ig .
* ~ ; oe Pa i .

eee
at

ap ee mm ee
.

 
Case 3:21-mj-00285-HTC Document1 Filed 08/16/21 Page 9 of1

 

 

CASE 0:21-cr-00173-WMW-DTS *SEALED* Doc. 1 Filed 08/11/21 Page 8 of 9

United States v. Anton Joseph Lazzaro et al.

(d)

(e)
(f)
(g)
(h)

GQ)

(k)

(1)

(m)

(0)
(p)

(q)
(r)

(s)

a Microsoft Windows Surface Pro-1645 Tablet, serial number
005260151452;

a Blackberry cellphone, serial number 1163831917;

a black Apple iPhone cellphone, serial number DNPVH35SHG71;

an Alcatel TCL cellphone, serial number 15145008637858;

a Xiamoi cellphone, serial number 1884828VN00206;

4 Thumb Drives seized from 201 11th Street South, #1920, Minneapolis, MN
55402 on December 15, 2020;

14 SD Cards seized from 201 11th Street South, #1920, Minneapolis, MN
55402 on December 15, 2020;

a silver Dell XPS laptop, serial number 6K GP9H2/14298070070;

a Dell Inspiron 3593 laptop, serial number JVMV943/43271725539;

a gray/black Motorola Moto e5 cellphone, serial number ZY323G7XXF;
a-white/biack Motorola One cellphone, IMEI: 352169100855557;

an LG LM-X210APM cellphone, serial number 001 VTYK 861266;

an Apple iPhone model A1662 cellphone seized from 201 11th Street South,
#1920, Minneapolis, MN 55402 on December 15, 2020;

an LG model LM-X210APM cellphone, serial number 809VTF W41 1651;

a black/silver Apple iPhone, model A1549 seized from 201 11th Street
South, #1920, Minneapolis, MN 55402 on December 15, 2020;

a Bittium Tough Mobile 2 cellphone with IMEI: 357320100013706;

re ae ne ren es

ae a ee

wr ete

 

 
Case 3:21-mj-00285-HTC Document1 Filed 08/16/21 Page 10 of 10

 

 

t

CASE 0:21-cr-00173-WMW-DTS *SEALED* Doc.1 Filed 08/11/21 Page 9 of 9

United States v. Anton Jeseph Lazzaro et al.

‘ }
(t) a GPS tracker seized from 201 11th Street South, #1920, Minneapolis, MN
1

55402 on December'l5, 2020: ‘
(u) a Blackberry cellphone with 32 GB SD Card with IMEI: 015103000107958;
(v) a Microsoft Windows Surface tablet with charging cord seized from 201 Lith
” Street South, #1920, Minneapolis, MN 55402 on December’15, 2020;
. (w) an Apple iPhone 11, serial number. FK2ZJ2BHN72J;
(x) an Apple iPad Pro-A1701 with charger, serial number DMPVP02WIJ28N;
. and |
(vy) an Apple Macbook Air-A2179 with charger, serial number

_ CO2D7EUDMNHP.

‘ Tf.any of the above-described forfeitable property is. unavailable for forfeiture, the

” United States intends to seek the forfeiture of substitute property as provided for in Title
21, United States Code, Section 853(p), as incorporated by Title 28, United States Code,
: ‘& Y
Section 2461(c).

i

A TRUE BILL

i

 

 

ACTING UNITED STATES ATTORNEY FOREPERSON

a
|
i
|

pani ar Ste ER, mtnaeiee

ny

or

vente pe eee ae lt iE ae ee aa ine an

+ e
‘ -. _ a. is Mad seainenpaeiia og be bp pe

Ge my nn te pl ye iit Pi at
a ’

*

 
